Case 20-12905-pmm          Doc 92-3 Filed 09/21/22 Entered 09/21/22 14:26:17                Desc
                             Certificate of Mailing Page 1 of 4




                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:

ALLEN LARRY SOROCHIELLO,                             : CASE NO. 20-12905-pmm
a/k/a ALLEN L. SOROCHIELLO,                          :
a/k/a ALLEN SOROCHIELLO, and                         : CHAPTER 13
KRISTIE LYNN SOROCHIELLO,                            :
a/k/a KRISTIE L. SOROCHIELLO,                        :
a/k/a KRISTIE SOROCHIELLO,                           :
a/k/a KRISTIE JOHNSON,                               :
a/k/a KRISTIE PIPPEN,                                :
             Debtors                                 :

                       CERTIFICATE OF MAILING
            NOTICE TO CREDITORS AND PARTIES IN INTEREST:
     THIRD APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF
                              EXPENSES

The undersigned employee in the office of:

           Newman Williams, P.C.,

hereby certifies that a copy of the Notice to Creditors and Parties in Interest: Third
Application for Compensation and Reimbursement of Expenses were deposited in the United
States mail, first class postage prepaid, on the date below, addressed to the parties listed on the
Mailing Matrix filed with this Notice as an Exhibit, excluding the Office of the US Trustee and
the Trustee, who were served through ECF.


Dated: September 21, 2022                    NEWMAN WILLIAMS, P.C.

                                         By: /s/ Robert J. Kidwell, Esq.
                                            ROBERT J. KIDWELL, ESQUIRE
                                            Attorney for Debtor
                                            PO Box 511, 712 Monroe Street
                                            Stroudsburg, PA 18360
                                            (570) 421-9090; fax (570) 424-9739
                                            rkidwell@newmanwilliams.com
                Case 20-12905-pmm       Doc 92-3 Filed 09/21/22 Entered 09/21/22 14:26:17 Desc
Label Matrix for local noticing            City of Bethlehem
                                          Certificate   of Mailing Page 2 of 4 (p)JEFFERSON CAPITAL SYSTEMS LLC
0313-4                                     c/o Portnoff Law Associates, Ltd.         PO BOX 7999
Case 20-12905-pmm                          P.O. Box 3020                             SAINT CLOUD MN 56302-7999
Eastern District of Pennsylvania           Norristown, PA 19404-3020
Reading
Wed Sep 21 11:01:31 EDT 2022
Tax Claim Bureau                           U.S. Attorney Office                      United States Trustee
633 Court Street                           c/o Virginia Powel, Esq.                  Office of the U.S. Trustee
Second Floor                               Room 1250                                 Robert N.C. Nix Federal Building
Reading, PA 19601-4300                     615 Chestnut Street                       Suite 300
                                           Philadelphia, PA 19106-4404               Philadelphia, PA 19107

Reading                                    Alltran Financial                         Ally Financial
United States Bankruptcy Court             5800 North Course Dr                      PO Box 130424
Office of the Clerk, Gateway Building      Houston, TX 77072-1613                    Roseville, MN 55113-0004
201 Penn Street, 1st Floor
Reading, PA 19601-4038

Ally Financial                             Berkheimer Tax Administration             Bridgecrest Credit Co
PO Box 380901                              50 North Seventh Street                   1800 N Colorado St
Bloomington, MN 55438-0901                 Bangor, PA 18013-1795                     Gilbert, AZ 85233



Bridgecrest Credit Co LLC                  CBCS                                      Capital One
PO Box 29018                               Po Box 2724                               PO Box 30285
Phoenix, AZ 85038-9018                     Columbus, OH 43216-2724                   Salt Lake City, UT 84130-0285



Capital One Bank (USA), N.A.               Cenlar Fed Savings Bank                   Citibank NA
4515 N Santa Fe Ave                        425 Phillips Blvd                         PO Box 769006
Oklahoma City, OK 73118-7901               Ewing, NJ 08618-1430                      San Antonio, TX 78245-9006



City of Bethlehem                          City of Bethlehem Water                   Comenity Bank
c/o James R. Wood, Esquire                 Sewer & Misc Services                     Bankruptcy Dept
2700 Horizon Drive, Suite 100              10 East Church Street                     PO Box 182125
King of Prussia, PA 19406-2726             Bethlehem, PA 18018-6005                  Columbus, OH 43218-2125


Commercial Acceptance                      Complete Payment Recovery Svcs            Consumer Portfolio Services
2300 Gettysburg Rd                         3500 5th Street                           Asset Rec Dept - Attn Bankruptcy
Camp Hill, PA 17011-7303                   Northport, AL 35476-4723                  PO Box 57071
                                                                                     Irvine, CA 92619-7071


Credit One Bank                            Daniel Santucci, Esq                      Dept of Ed/Navient
6801 S Cimarron Road                       c/o Midland Funding LLC                   PO Box 9655
Las Vegas, NV 89113-2273                   1 International Plz 5th Fl                Wilkes Barre, PA 18773-9655
                                           Philadelphia, PA 19113-1510


Diabetes & Osteoporosis Ctr                First Premier                             First Savings Bank
20 Wills Way                               3820 N Louise Avenue                      PO Box 5065
Piscataway, NJ 08854-3770                  Sioux Falls, SD 57107-0145                Sioux Falls, SD 57117-5065
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Geico Choice Insurance Co                Global Credit of
                                        Certificate    & Coll
                                                          Mailing Page 3 of 4 Good Shepherd Rehab Hospital
One Geico Plaza                          5440 N Cumbeland Ave                      850 South 5th Street
Bethesda, MD 20811-0001                  Suite 300                                 Allentown, PA 18103-3295
                                         Chicago, IL 60656-1486


Hanover Township Bd of Supervisors       Hanover Township Northampton County       Health Network Laboratories
3630 Jacksonville Road                   3630 Jacksonville Rd.                     794 Roble Road
Bethlehem, PA 18017-9303                 Bethlehem PA 18017-9302                   Allentown, PA 18109-9110



(p)I C SYSTEM INC                        Joseph A Diconcetto MD                    LVNV Funding
LEGAL DEPARTMENT                         5325 Northgate Dr 104                     625 Pilot Road
PO BOX 64444                             Bethlehem, PA 18017-9412                  Suite 3
SAINT PAUL MN 55164-0444                                                           Las Vegas, NV 89119-4485


LVNV Funding, LLC                        Lehigh Valley Health Network              Lehigh Valley Hospital Muhlenberg
Resurgent Capital Services               Patient Receivables Office                PO Box 4120
PO Box 10587                             PO Box 4067                               Allentown, PA 18105-4120
Greenville, SC 29603-0587                Allentown, PA 18105-4067


Lehigh Valley Phys Group                 (p)MISSION LANE LLC                       Lisa A Pereira Esq
PO Box 1754                              PO BOX 105286                             38 West Market Street
Allentown, PA 18105-1754                 ATLANTA GA 30348-5286                     Bethlehem, PA 18018-5703



MORTGAGE RESEARCH CENTER, LLC ET AL      MORTGAGE RESEARCH CENTER, LLC, et.al.     McLure Law Office
CENLAR FSB                               C/o Mario J. Hanyon, Esq.                 PO Box 65
BK Department, 425 PHILLIPS BLVD.        1617 JFK Boulevard, Suite 1400            Middletown, PA 17057-0065
EWING NJ 08618-1430                      One Penn Center Plaza
                                         Philadelphia, PA 19103

Medical Imaging of Lehigh Valley         Midland Credit Management                 Midland Credit Management, Inc.
2 Meridian Blvd 2nd Fl                   350 Camino De La Reina                    PO Box 2037
Wyomissing, PA 19610-3202                Suite 100                                 Warren, MI 48090-2037
                                         San Diego, CA 92108-3007


Mortgage Research Center, LLC et al      Peerless Credit Services                  (p)PENN CREDIT CORPORATION
c/o Daniel P. Jones, Esquire             PO Box 518                                PO BOX 69703
Stern & Eisenberg, PC                    Middletown, PA 17057-0518                 HARRISBURG PA 17106-9703
1581 Main Street, Suite 200
The Shops at Valley Square
Warrington, PA 18976-3403
Pennsylvania Department of Revenue       (p)PORTFOLIO RECOVERY ASSOCIATES LLC      Premier Bankcard, Llc
Bankruptcy Division PO Box 280946        PO BOX 41067                              Jefferson Capital Systems LLC Assignee
Harrisburg, Pa. 17128-0946               NORFOLK VA 23541-1067                     Po Box 7999
                                                                                   Saint Cloud Mn 56302-7999


Provident Bank                           Quantum3 Group LLC as agent for           RCN
4787 Freemansburg Avenue                 CF Medical LLC                            100 Baltimore Drive
Easton, PA 18045-5529                    PO Box 788                                Wilkes Barre, PA 18702-7955
                                         Kirkland, WA 98083-0788
                Case 20-12905-pmm               Doc 92-3 Filed 09/21/22 Entered 09/21/22 14:26:17 Desc
RCN Telecom Services                               Radius Global of
                                                  Certificate    Solutions
                                                                    Mailing Page 4 of 4 Receivables Management Systems
c/o Joseph Mann & Creed                              7831 Glenroy Rd Ste 250-A                            7206 Hull St Ste 211
8948 Canyon Falls Blvd Ste 200                       Minneapolis, MN 55439-3132                           Richmond, VA 23235-5826
Twinsburg, OH 44087-1900


Receivables Mgt Partners                             St Luke’s Hospital                                   Summit Collection Svcs NJ LLC
PO Box 349                                           Box #4096                                            PO Box 306
Greensburg, IN 47240-0349                            PO Box 8500                                          Ho Ho Kus, NJ 07423-0306
                                                     Philadelphia, PA 19178-4096


Synchrony Bank                                       The Provident Bank                                   Veterans United Home Loans
Attn Bankruptcy Dept                                 381 Speedwell Ave                                    PO Box 77404
PO Box 965061                                        Morris Plains, NJ 07950-2136                         Ewing, NJ 08628-6404
Orlando, FL 32896-5061


Allen Larry Sorochiello                              Kristie Lynn Sorochiello                             ROBERT JOSEPH KIDWELL
2875 Whitewood Road                                  2875 Whitewood Road                                  Newman Williams
Bethlehem, PA 18017-3537                             Bethlehem, PA 18017-3537                             712 Monroe Street
                                                                                                          Stroudsburg, PA 18360-2131


SCOTT F. WATERMAN (Chapter 13)                       VINCENT RUBINO
Chapter 13 Trustee                                   Newman Williams Mishkin
2901 St. Lawrence Ave.                               712 Monroe Street
Suite 100                                            PO Box 511
Reading, PA 19606-2265                               Stroudsburg, PA 18360-0511



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Jefferson Capital Systems LLC                        IC System Inc                                        (d)JEFFERSON CAPITAL SYSTEMS LLC
PO Box 7999                                          PO Box 64378                                         PO Box 7999
St Cloud, MN 56302-9617                              Saint Paul, MN 55164-0378                            St Cloud MN 56302



Lendup Card Services                                 Penn Credit                                          Portfolio Recovery Associates, LLC
47 Maiden Lane                                       PO Box 69703                                         POB 41067
San Francisco, CA 94108                              Harrisburg, PA 17106-9703                            Norfolk VA 23541




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)MORTGAGE RESEARCH CENTER, LLC, et.al.             (u)Sophia Nikolaidis                                 End of Label Matrix
                                                     , PA                                                 Mailable recipients    73
                                                                                                          Bypassed recipients     2
                                                                                                          Total                  75
